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IN THE UNITED sTATEs DISTRICT coURT me?EY Dc`
FOR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION OSAUG'l AHII=GO
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CHARLES M. MURPHY, JR., X
X
Piainciff, x
X
vs. X N@. 05-2407-s/P
)(
UNITED sTATEs oF AMERICA, X
X
Defendant. X
X

 

ORDER STRIKING PLAINTIFF'S RESPONSE TO ORDER
ORDER OF DISMISSAL
ORDER DENYING MOTION TO REQUIRE FILING OF ADMINISTRATIVE RECORD
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
NOTICE OF APPELLATE FILING FEE
ORDER ENJOINING PLAINTIFF FROM FILING FURTHER DOCUMENTS
ORDER REAFFIRMING AND IMPOSING FURTHER
RESTRICTIONS ON FILING PRIVILEGES
AND
ORDER IMPOSING $500 FINE

 

On June l, 2005, Plaintiff, Charles Murphy, Jr., filed this
org §§ complaint suing the United States of America and paid the
filing fee. Murphy also filed a motion to require the defendant to
file the administrative record. On June 13, 2005, after the case
was assigned.to United States District Judge Bernice Donald, Murphy
filed a motion seeking her recusal. On June 17, 2005, Judge Donald
determined no basis existed for recusal, however, she directed the
Clerk to reassign the case. The case was reassigned to United
States District Judge Samuel H. Mays, who signed an order of
recusal on June 21, 2005. On June 21, 2005, the case was

reassigned by random draw to the undersigned judge.

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On June 28, 2005, Murphy filed an irregular document entitled
“RESPONSE TO ORDER DENYING MOTION TO RECUSE AND REASSIGNING CASE.”
Plaintiff was not directed to respond to the Court's order and the
Federal Rules of Civil Procedure do not otherwise provide a
mechanism for a party to respond to an order entered by the Court.
The document contains a recapitulation of Murphy's argument for
recusal, as well as his disagreement with Judge Donald's order.

Rule 12{f) Fed R. Civ. P. provides that upon the Court‘s own
initiative, a Court may strike "from any pleading any insufficient
defense or any redundant, immaterial, impertinent, or scandalous
matter." Plaintiff’s case has been reassigned. The Court finds
the plaintiff's irregular response to be immaterial, impertinent,
and redundant. This Court invokes its inherent power "to control
the disposition of the causes on its docket with economy of time
and effort for itself, for counsel, and for litigants," Landis v.
North American Co., 299 U.S. 248 (1936), and hereby ORDERS
defendant's "Response to Order” (docket entry lO) STRICKEN from the
record.

Plaintiff Murphy, a veteran of World War II and the Korean
War, has filed another complaint seeking review of a decision of
the Air Force Board, for the Correction of Military Records
(“AFBCMR”), correction of his wdlitary records, and retirement

benefits. Plaintiff has now filed six complaints in this district

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and the United States District Court for the District of Columbia
seeking declaratory, injunctive, and monetary relief.l

After Judge Donald's decision in Murphy 11 was affirmed on
appeal by the Sixth Circuit, Murphy filed three motions for summary
judgment. The United States filed a motion to strike plaintiff’s
motions. By order entered on August 7, 1998, Judge Donald
described the motions, which again set forth Murphy's view of the
facts and evidence, as increasingly vituperative and directed that
the pleadings be stricken from the record and enjoined Murphy from
filing further documents. The order stated:

Finally, it is apparent that Murphy will continue to

abuse the federal court's jurisdiction in an attempt to

harass the Court, the Assistant United States Attorney,

and anyone remotely connected with. this case. See

Filipas v. Lemons, 835 F.2d 1145 {6th Cir. 1987). This

Court has the obligation and authority to prevent this

type of abuse.

Federal courts have both the inherent power
and the constitutional obligation to protect

 

Murphy has filed the following actions:

1) Murphy v. United States, No. 02-1493-H (D.D.C. 2003), aff'd, No. 03-5374,
2004 WL 1038747 (D.C. Cir. Ma'y' 14, 2004); CE:IC. denied, NO. 04*6517, l25
S. Ct. 438 (Nov. 1, 2004)(dismissing claims as barred by res
judicata)(Murphy V);

2) Murphy v. United States, No. 00-2850 (D.D.C. Apr. 20, 2001); aff'd, No.
01-5243, 2001 WL 1699349 (D.C. Cir. Dec. 19, 2001); cert. denied, No. 01j
9653, 535 U.S.1105 (May 28, 2002)(dismissing claims as barred by res
judicata)(Murphy IV);

3) MurDhy v. United States, No. 98~2965 (D,D.C. Sept. 13, 1999); aff’d, No.
99-5325, 2000 WL 274200 (D.C. Cir. Feb. 2, 2000); Cert. denied, No. 99M
9415, 530 U.S. 1248 (June 19, 2000)(dismissing claims as barred by res
judicata) (Murphy III);

4) Murphy v. United States, 96#2672-D/V (W.D. Tenn. June 25, 1997); aff'd,
NO. 97#5831, 1998 WL 228124 (6th Cir. Apr. 30, 1998); Cert. denied, NO.
98-6029, 525 U.S. 941 (Oct. 13, 1998)(dismissing claims as barred by res
judicata)(Murphy II);

5) Murphy v. United States, No. 95-258C (Fed. Cl. July 26, 1995), aff’d, No.
95-5161, 1996 WL 110628 (Fed. Cir. Mar. 12, 1996), Cert. denied, NO. 95~
8662, 517 U.S. 1248 (June 10, 1996)(dismissing complaint as time~barred
under the applicable statute of limitations)(Murphy I).

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their jurisdiction from conduct which impairs
their ability to carry out Article III
functions. If such power did not exist, or if
its exercise were somehow dependent upon the
actions of another branch of government or
upon the entitlement of a private party to
injunctive relief, the independence and
constitutional role of Article III courts
would be endangered.

ln re Martin-Trigona, 737 F.2d 1254, 1261 (2d Cir. 1984).
See also Winslow v. Romer, 759 F. Supp. at 677-78; Kersh
v. Borden Chemical, Div. of Borden, Inc., 689 F. Supp.
1442, 1452-53 (E.D. Mich. 1988). The Sixth Circuit and
other appellate courts have endorsed the enjoining of
prolific frivolous filers. See Filipas v. Lemons. See
also Dav v. Allstate Ins. Co., 788 F.2d 1110 (5th Cir.
1986); Cotner v. Hopkins, 795 F.2d 900 (lOth Cir. 1986);
Procup v. Strickland, 792 F.2d 1069 (11th Cir. 1986);
Franklin v. Murphy, 745 F.2d 1221, 1232 (9th Cir. 1984);
In re Martin~Trigona; In re Green, 215 U.S. App. D.C.
393, 669 F.2d 779 (D.C. Cir. 1981){Per Curiam); Green v.
Warden, 699 F.Zd 364 (7th Cir. 1980); Green v. White, 616
F.2d 1054, 1056 (8th Cir. 1980} (per curiam); Gordon v.
Department of Justice, 558 F.2d 618 (1st Cir. 1977);
Gambocz v. Yelencsics, 468 F.2d 837 (3d Cir. 1972). The
Court must take care not to impose restrictions that
would preclude the party from all access to the courts.
Safir v. United States Lines, Inc.r 792 F.2d 19, 24 (2d
Cir. 1986); Sires v. Gabriel, 748 F.2d 49, 51 (1st Cir.
1984).

The Court has considered how to prevent Murphy from
continuing to abuse the judicial system by continuously
attempting to litigate the same or similar frivolous
claims, without also completely precluding his access to
the courts. See, e.g., Sickle v. Holloway, 791 F.2d
1431, 1437 (10th Cir. 1986)(limited filing restrictions
prevent relitigation of frivolous allegations but do not
totally preclude access). See also Lyons v. Randallr 834
F.2d 493, 496 (5th Cir. l987)((sanctions imposed for
third filing of frivolous lawsuit and for suing federal
judge protected by absolute judicial immunity).

Accordingly, this Court ORDERS that plaintiff shall file
no further documents in this case and shall not file any
other case in which he seeks to relitigate matters which
in any way arise from this closed case. The Clerk is
ORDERED not to file or otherwise accept any other
documents for filing in this action or any other action
which attempt to relitigate matters arising from this

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action. Any further documents in this case or any other

documents attempting to relitigate matters arising from

this case shall be returned to Murphy.

Furthermore, should Murphy violate this order, the Court

will then impose further sanctions against him, including

a monetary fine.

(Murphy 11, docket entry 82)

Additionally, Murphy filed Murphy v. Alexander, et al., No.
98~2636~Ml/V (W.D. Tenn. Aug. 31, 1998), suing Assistant United
States Attorney (AUSA) Sidney P. Alexander, Sixth Circuit Court of
Appeals Clerk Leonard Green, and Sixth Circuit Court of Appeals
Judges Gilbert S. Merritt, Cornelia G. Kennedy, Boyce F. Martin,
Jr., H. Ted Milburn, David A. Nelson, James L. Ryan, Danny J.
Boggs, Alan E. Norris, Richard F. Suhrheinrich, Eugene E. Siler,
Jr., Alice M. Batchelder, Marha Craig Daughtrey, Karen Nelson
Moore, R. Guy Cole, Jr., Harry Wellford, Nathaniel R. Jones, and
Ronald Lee Gilman. Murphy expressed his disagreement with Judge
Donald's decision in Murphy II, the manner in which AUSA Alexander
defended the case, the manner in which Clerk Green docketed and
handled plaintiff’s appeal, and the appellate decision of the Sixth
Circuit judges. United States District Judge Jon Phipps McCalla
dismissed Murphy's complaint as barred by judicial and sovereign
immunity and as frivolous.

The claims asserted in this complaint are fully within the
scope of Murphy l, Murphy Il, Murphy lll, Murphy lV, and Murphy V
and are barred by both the claim and issue preclusion branches of

the res judicata doctrine. ee C. Wright, Law of Federal Courts,

§ 100A at 680, 682 (1983). "A final judgment on the merits of an

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action precludes the parties or their privies from relitigating
issues that were or could have been raised in that action."
Federated Dept. Stores, 1nc. v. Moitie, 452 U.S. 394, 398
(1981)(emphasis added). The dismissal on statute of limitations
grounds in Murphy 1 was a judgment on the merits.
The rules of finality, both statutory and judge made,
treat a dismissal on statute-of-limitations grounds the
same way they treat a dismissal for failure to state a
claim, for failure to prove substantive liability, or for
failure to prosecute: as a judgment on the merits. See,
e.g., Fed. Rule Civ. Proc. 41(b); United. States v.
Oppenheimer, 242 U.S. 85, 87-88 (1916).
Plaut v. Spendthrift Farm, 1nc., 514 U.S. 211, 228 (1995).
Where a plaintiff has sued parties in serial litigation
over the same transaction; where plaintiff chose the
original forum and had the opportunity to raise all its
claims relating to the disputed transaction in the first
action; where there was a "special relationship" between
the defendants in each action, if not complete identity
of parties; and where although the prior action was
concluded, the plaintiff's later suit continued to seek
essentially similar relief--the courts have denied the
plaintiff a second bite at the apple.
Lubrizol Corp. v. Exxon Corp., 871 F.2d 1279, 1288 (5th Cir. 1989).
See also The Restatement (Second) Judgments § 51 (1982).
Plaintiff’s claims regarding his 1992 application for
correction were time-barred in Murphy 1; the additional claims
presented in Murphy 11 and Murphy 111 could have been raised in
Murphy 1. While Murphy IV, Murphy V, and the present complaint
reference plaintiff’s 2000 application for correction, the
application is based upon the same underlying decisions made by the

Selection Boards in 1958 and 1959. The fact that Plaintiff files

new applications with the AFBCMR and attempts to recharacterize his

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claims, does not revive his expired statute of limitations.
Plaintiff’s complaint presents claims which are time-barred and
which are clearly prohibited by res judicata. Accordingly, the
complaint lacks an arguable basis either in law or in fact and is,
therefore, frivolous. See Denton v. Hernandez, 504 U.S. 25, 31
(1992); Neitzke v. Williams, 490 U.S. 319, 325 (1989).
Furthermore, under Apple v. Glenn, 183 F.3d 477, 479 (6th Cir.
1999), a district court should dismiss a paid complaint for want of
subject matter jurisdiction if the claims are "frivolous,
attenuated, or unsubstantial." See Hagans v. Lavine, 415 U.S. 528,
536-37 (1974). Murphy's contentions are legally frivolous in this
Court because they are based on an "indisputably meritless legal
theory" of seeking relief twice on the same claims or issues or on
claims that are time-barred, Neitzke, 490 U.S. at 327. As the

claims are frivolous, they are inadequate to invoke this Court’s

subject matter jurisdiction. Accordingly, the complaint is
DlSMlSSED pursuant to Fed. R. Civ. P. 12(h)(3). Hagans, 415 U.S.

at 536-37; Apple, 183 F.3d at 479.

Plaintiff’s motion to require the filing of the Administrative
record (docket entry 2) is denied as MOOT due to the dismissal of
the complaint.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in fgrma pauperis if the trial court certifies in
writing that it is not taken in. good faith. The good, faith
standard is an objective one. Coppedge v. United States, 369 U.S.

438, 445 (1962). The same considerations that lead the Court to

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dismiss this case as devoid of subject matter jurisdiction also
compel the conclusion that an appeal would be devoid of subject
matter jurisdiction and would not be taken in good faith. lt is
therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a){3), that any
appeal in this matter by plaintiff is not taken in good faith and
plaintiff may not proceed on appeal in fp;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601, 612-13 (6th Cir. 1997); Callihan v.
Schneider, 178 F.3d 800 (6th Cir. 1999), apply to any appeal filed
by the plaintiff in this case. 1f plaintiff files a notice of
appeal, he must pay the entire 8255 filing fee required by 28
U.S.C. §§ 1913 and 1917,2 or attempt to renew his request for leave
to appeal in fp;ma pauperis by filing "within thirty days after
service of the district court's decision as prescribed by Fed. R.
App. P. 24(a){4), a motion with [the Sixth Circuit] for leave to
proceed as a pauper on appeal." Callihan, 178 F.3d at 803. Under
Callihan, if the appellant does not within this thirty-day period
either file the required motion or pay the filing fee, the appeal

will be dismissed for want of prosecution. 1f the appeal is

 

2 The fee for docketing an appeal is $250. See Judicial Conference

schedule of Fees, 11 1, Note following 23 U.s.c. § 1913. Under 23 U.s.c. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari 35
shall be paid to the Clerk of the district court, by the appellant
or petitioner.

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dismissed, it will not be reinstated once the fee is paid. ld# at
804.

The Court reaffirms the previous sanctions imposed by Judge
Donald in Murphy 11 that Murphy shall file no further documents in
this case and shall not file any other case in which he seeks to
relitigate matters which in any way arise from Murphy 11.

Furthermore, the Court imposes restrictions on Murphy's filing
privileges by prohibiting him from filing any other case in which
he seeks to relitigate matters which arise from Murphy 1, Murphy
11, Murphy 111, Murphy IV, Murphy V, or the present case, Murphy
VI. Moreover, any case submitted by Murphy to another Court that
is thereafter removed or transferred to this district court will
result in the same sanctions as if it had been filed here. The
Clerk is ORDERED not to file or otherwise accept any other
documents for filing in this action or any new action which attempt
to relitigate these matters unless specifically directed to do so
by a district judge or magistrate judge of this district. Any
further documents in this case or any other documents attempting to
relitigate these matters shall be returned to Murphy.

Plaintiff was previously admonished in Murphy 11 that a
monetary fine could be imposed if he violated Judge Donald's order.
Plaintiff has clearly' disobeyed that order by attempting to
relitigate his previously dismissed claims. That willful
disobedience resulted in another frivolous case on this Court's

docket.

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In deciding the appropriate monetary sanction to impose, the
Court does not take lightly the facts that Murphy is 85 years old
and a veteran who served his country. Howeverr the Court also
considers that plaintiff, once a practicing attorney¢ has now fully
demonstrated his intent to continue to abuse the federal court's
jurisdiction in an attempt to harass the Court, the United States,
and those connected with the decisions to deny Murphy's requests
for relief and requests for changes to his military' records.
Plaintiff's lack <of contrition is further demonstrated knr his
impertinent characterizations of decisions by the judges who
dismissed his previous complaints.

As Murphy has flagrantly avoided complying with Judge Donald's
order despite the warning that failure to comply would result in
the imposition of “further sanctions against him, including a
monetary fine," the Court orders him to pay a fine of $500. 1f he
files a notice of appeal, he shall pay the $255 appellate filing
fee in addition to the $500 fine. The Court further ADMONISHES
Plaintiff that if he persists in filing frivolous lawsuits in this
district that he will be sanctioned with additional monetary fines

in an amount no less than $500.

%{~
IT ls so oRDERsD this '%f day of July, 2005.

 

. AleL sREsN \\T
UNI ED sTATEs DlsTRlc JUDGE

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DITRIC COURT - WESTERN DI"CRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02407 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Charles M. Muprhy

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1\/1emphis7 TN 38115

chorable .1. Breen
US DISTRICT COURT

